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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               JUDGE RAYMOND P. MOORE

  Courtroom Deputy: Cathy Pearson                                Date: November 3, 2021
  Court Reporter:   Tammy Hoffschildt

  CASE NO.       20-cv-01083-RM-KMT

  Parties                                                        Counsel

  BRIAN M. CUTTER,                                               Daniel Powell
  WENDY CUTTER, and                                              Gordon Bosa
  AMERICAN CUSTOM ENGINEERING, L.L.C.,

         Plaintiffs,

  v.

  PLAZA INSURANCE COMPANY,                                       Joseph Sanchez

         Defendant.



                                    COURTROOM MINUTES

  JURY TRIAL – Day 3
  Court in session:            9:56 a.m. Jury is not present.

  Present at Plaintiff’s table is Brian Cutter.

  The Court advises the parties that the jury has a question. The Court reads the question
  and proposed answer. Discussion held regarding the proposed answer.

  The answer is provided to the jury.

  Court in recess: 10:02 a.m.
  Court in session: 1:36 p.m. Jury is not present.

  The Court advises the parties that the jury has reached a verdict.

  1:38 p.m.      Jury is present.

  The verdict form is given to the Court.
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  The Court thanks the jurors for their service and reads the verdict into the record.

  1:42 p.m.      Jury is excused.

  ORDERED: The verdict shall be filed.

  Judgment will enter after the filing of a bill of costs by the plaintiffs.

  Court in recess:              1:44 p.m.
  Total in court time:          00:14
  Hearing concluded
